         Case 1:20-cv-12090-DPW Document 273 Filed 04/22/22 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



  ALLIANCE FOR AUTOMOTIVE INNOVATION,

                                   Plaintiff,
                                                             CIVIL ACTION
                              v.                             NO. 1:20-cv-12090-DPW

  MAURA HEALEY, ATTORNEY GENERAL OF
  THE COMMONWEALTH OF
  MASSACHUSETTS in her official capacity,

                                   Defendant.



                             FURTHER MODIFIED STIPULATION
        The Office of the Attorney General stipulates that it does not intend to, and will not, issue

the notice discussed in Section 4 of the Data Access Law until after the Court rules on counts 1

and 2 of the plaintiff’s complaint. Similarly, the Office of the Attorney General stipulates that it

does not intend to, and will not, exercise its enforcement authority under Chapter 93A, Chapter

93K, or otherwise, to enforce any provision of the Data Access Law until after the Court rules on

counts 1 and 2 of the plaintiff’s complaint. The Office of the Attorney General reserves the right

to revise this stipulation in the event that adjudication of those claims is delayed beyond July 1,

2022, but further stipulates that it will do so only after first providing 14 days’ advance notice to

the plaintiff and the Court of its intent to do so.




                                                      1
        Case 1:20-cv-12090-DPW Document 273 Filed 04/22/22 Page 2 of 2




                                                      Respectfully submitted,

                                                      MAURA HEALEY
                                                      ATTORNEY GENERAL,

                                                      By her attorneys,

April 22, 2022                                        /s/ Eric A. Haskell
                                                      Robert E. Toone, BBO No. 663249
                                                      Eric A. Haskell, BBO No. 665533
                                                      Phoebe Fischer-Groban, BBO No. 687068
                                                      Julia Kobick, BBO No. 680194
                                                      Christine Fimognari, BBO No. 703410
                                                        Assistant Attorneys General
                                                      Office of the Attorney General
                                                      One Ashburton Place
                                                      Boston, Mass. 02108
                                                      (617) 963-2178
                                                      robert.toone@mass.gov



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the CM/ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on April 22, 2022.

                                                      Eric A. Haskell
                                                      Eric A. Haskell
                                                      Assistant Attorney General




                                                  2
